                    Case 3:20-cv-00133-JCH Document 151-1 Filed 08/24/20 Page 1 of 13




Attachments:           letter-renewed-notice-subpoena-k-raghavan.pdf


From: Jakub Madej <j.madej@lawsheet.com>
Sent: Tuesday, August 18, 2020 3:14 PM
To: Pat Noonan <PNoonan@ddnctlaw.com>
Cc: h.kim@lawsheet.com
Subject: Deposition of K. Raghavan in Madej v. Yale Univ et al.

Dear Patrick,

Please find the letter attached.

Regards,
Jakub

--
Jakub Madej
1700 Santa Fe Avenue #845 | Long Beach, CA 90813
415 Boston Post Rd 3-1102 | Milford, CT 06460
Phone: (203) 928-8486 | Fax: (203) 902-0070
Email: j.madej@lawsheet.com | Website: www.lawsheet.com
Click to schedule a meet-and-confer

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message or its attachments.
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FACTSABOUTYALE.COM
NEW YORK   NEW HAVEN    LONG BEACH    MILFORD             Jakub J. Madej
                                                          LAWSHEET
                                                          415 Boston Post Rd Ste 3 1102
                                                          Milford, CT 06460
                                                          T: (203) 928 8486
                                                          j.madej@lawsheet.com



VIA EMAIL
PNoonan@ddnctlaw.com                                      August 18, 2020

Patrick M. Noonan, Esq.
DONAHUE, DURHAM & NOONAN PC
741 Boston Post Road, Suite 306
Guilford, CT 06437
Telephone: (203) 458-9168


       RE:    Deposition of Keshav Raghavan Noticed for August 17
              Madej v. Yale University et al., Case No. 3:20-cv-00133-JCH (D. Conn.)

Dear Attorney Noonan:

       I write with regards to the deposition of Keshav Raghavan, which was noticed
for yesterday, August 17, 2020 (Monday) at 2:00 pm at 280 Hudson St in New York,
NY. Neither the witness nor the witness's attorney appeared for the deposition. The
deposition was suspended at 3:00 pm due to non-appearance.

      As you are well-aware, on August 3, 2020, the witness was personally served
with the subpoena commanding him to appear. You were also served with a notice of
subpoena by August 4, 2020. The court has not granted any relief as to Mr.
Raghavan’s deposition; nor has Mr. Raghavan sought any such relief. No application
for protective order has been filed at all. Neither the witness nor the witness's
attorney attempted to contact me to explain their absence.

      I contacted you at approximately 2:27 pm, via text message and email, to
confirm whether you were coming, but received no response. You sent me a separate
message at about 3:00 pm, stating that you will not be appearing but providing no
explanation.

      As I am sure you know, merely filing a motion to quash does not stay a
deposition. Barnes v. Madison, 79 Fed.Appx. 691, 707 (5th Cir.2003). See also Batt v.
Kimberly–Clark Corp., 438 F.Supp.2d 1315, 1317–18 (N.D.Okla.2006) (motion to
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quash does not automatically stay a deposition); Sutherland v. Mesa Air Group, Inc.,
No. 98–10061–CIV2003, 2003 WL 21402549, at *5 and n. 10 (S.D.Fla. June 6, 2003)
(The filing of a motion for protective order alone would not have relieved counsel of
obligation to attend the depositions; the obligation to comply dissipates only when
court grants the motion.); Hepperle v. Johnston, 590 F.2d 609, 613 (5th Cir.1979)
(The court's inaction on plaintiff's motion for a protective order to postpone the taking
of his deposition did not relieve plaintiff of the duty to appear for deposition); Goodwin
v. City of Boston, 118 F.R.D. 297, 298 (D.Mass.1988) (Filing a motion to quash does
not automatically stay deposition. “[I]t is incumbent on counsel for movant to file a
motion to stay the deposition until the Court acts on motion to quash ... and to alert
the [court] to the need for immediate action ....”) (emphasis added).

      “[T]he party is obliged to appear until some order of the court excuses
attendance”. Stephen L. LaFrance Holdings, Inc. v. Sorensen, 278 F.R.D. 429, 436
(E.D. Ark. 2011). “[T]he burden is on the movant to obtain a ruling on a motion to
quash before cancelling a deposition”. Id. This line of cases assumes that the motion
to quash has potentially valid grounds on the basis of which a court might conclude
that quashing is appropriate. In this case, however, there were none.

       I attach a revised deposition subpoena and a notice of deposition that
reschedules Mr. Raghavan’s deposition for September 1, 2020 (Tuesday) at 9:00 am,
also in New York. I reserve the rights to seek sanctions, including under FRCP 30(d),
37(d), and 45(g), should the witness continue to disobey the subpoena. I will be
seeking reimbursement for all costs incurred.

      If you have any questions, please contact the undersigned at your convenience.

                                                Sincerely,


                                                ___________________________



cc:   Haley Kim (h.kim@lawsheet.com)
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 JAKUB MADEJ,
      Plaintiff,
                                                          Civil Action No.
        v.                                                3:20-cv-00133 (JCH)

 YALE UNIVERSITY et al.,                                  August 18, 2020
      Defendants.

     RENEWED NOTICE OF VIDEOTAPED DEPOSITION [FED. R. CIV. P. 45]

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
       PLEASE TAKE NOTICE that Plaintiff Jakub Madej intends to serve a subpoena on
Keshav Raghavan on August 18, 2020, or as soon thereafter as service may be effectuated. A
true copy of the subpoena is attached to this notice.



Dated: August 18, 2020                            Respectfully submitted,
         New York, NY                             By: /s/ Jakub Madej
                                                  Jakub J. Madej
                                                  LAWSHEET
                                                  415 Boston Post Rd Ste 3-1102
                                                  Milford, CT 06460
                                                  T: (203) 928-8486
                                                  F: (203) 902-0070
                                                  E: j.madej@lawsheet.com
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                                CERTIFICATE OF SERVICE
        I certify that I sent a true and correct copy of the attached notice, together with all
attachments and exhibits, via email, on August 18, 2020, to the attorneys of record for all of the
parties in this action at the addresses listed below:
       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 245-1678
       Fax: (203) 458-4424




                                                             /s/ Jakub Madej
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                                    Keshav Raghavan




231 Hudson Street, SoHo, New York, NY 10013                September 1, 2020, 9:00 am

                                          Videography




   Documents in your posession as of January 14, 2020 sufficient to prove that Committee on
   Honors and Academic Standing ("Committee") exists, as well as documents indicating how
   Committee on Honors and Academic Standing operates.




                                                                issued on Aug 18, 2020
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
8/18/2020           Case 3:20-cv-00133-JCH Scary
                                           Document
                                                 Fox Mail - 151-1
                                                            Deposition Filed  08/24/20
                                                                       of Keshav Raghavan Page 8 of 13



                                                                                         Jakub Madej <j.madej@lawsheet.com>



  Deposition of Keshav Raghavan
  Jakub Madej <j.madej@lawsheet.com>                                                                 Mon, Aug 17, 2020 at 2:23 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Dear Patrick,

    As you know, Mr. Keshav Raghavan is being deposed today at 2:00pm in New York, pursuant to the subpoena that you
    received.

    The deponent is not here, and no representative for Yale has appeared. Are you on the way? Please call me at (203)
    928-8486 or my assistant Haley at (203) 674-1602.

    Kindly advise when you're expected to arrive, and if you'd be appearing at Mr. Raghavan's deposition at all.

    If you claim to represent Mr. Raghavan, kindly advise whether the witness will appear at his deposition.

    Best,
    Jakub




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8/18/2020          Case 3:20-cv-00133-JCH
                                        ScaryDocument       151-1
                                              Fox Mail - Deposition     Filedfor08/24/20
                                                                    scheduled                  Page 9 of 13
                                                                                 August 17, 2020



                                                                                           Jakub Madej <j.madej@lawsheet.com>



  Deposition scheduled for August 17, 2020
  1 message

  Jakub Madej <j.madej@lawsheet.com>                                                                   Mon, Aug 17, 2020 at 2:25 PM
  To: keshav.raghavan@yale.edu

    Dear Mr. Raghavan,

    This is with regards to your deposition scheduled for today at 2:00pm in New York. You have not appeared, and no
    counsel is here, either. Kindly advise whether you'd be appearing for the deposition today.

    If you're represented by counsel, kindly forward this message to him. This communication should not be construed as an
    attempt to directly contact a party represented by counsel.

    Best,
    Jakub Madej




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Case 3:20-cv-00133-JCH Document 151-1 Filed 08/24/20 Page 10 of 13
8/18/2020            Case 3:20-cv-00133-JCH Document
                                                 Scary151-1      Filedv.Yale
                                                      Fox Mail - Madej  08/24/20 Page 11 of 13


                                                                                           Jakub Madej <j.madej@lawsheet.com>



  Madej v.Yale
  5 me      age

  Pat Noonan <PNoonan@ddnctlaw.com>                                                                    Mon, Aug 17, 2020 at 2:44 PM
  To: Jakub Madej <j.madej@lawsheet.com>


    Hi Jakub,

              Mr. Raghavan informed me that you contacted him about his deposition. This is in violation of Judge Hall’s
    order A you know, I am repre enting Mr Raghavan A you al o know, I have filed a motion to qua h your notice of
    deposition. We will await a ruling from Judge Hall before that deposition is taken.



    Please be advised that I will be intermi ently working from home. My cell phone number is 203-314-4562.



    Patrick M. Noonan
    Donahue, Durham & Noonan, P.C.

    741 Boston Post Road
    Guilford, CT 06437

    (203)457-5209(direct)
    (203)314-4562(cell)
    (203)458-9168(oﬃce)




  Jakub Madej <j.madej@lawsheet.com>                                                                   Mon, Aug 17, 2020 at 2:48 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Dear Patrick,

    I interpret your message to state that you will not be appearing for the deposition. I'm waiting for the witness or for his
    counsel but neither is here. I have sent you a separate email, and a text message, requesting that you call me or my
    a i tant whether you'd be appearing I will enter thi determination into the record Plea e notify me immediately if
    anything I stated here is incorrect.

    Best,
    Jakub
    [Quoted text hidden]



  Pat Noonan <PNoonan@ddnctlaw.com>                                                                    Mon, Aug 17, 2020 at 3:09 PM
  To Jakub Madej j madej@law heet com


    Jakub,


https://mail.google.com/mail/u/0?ik=defacd363b&view=pt&search=all&permthid=thread-f%3A1675299292425831371&simpl=msg-f%3A16752992924…   1/3
8/18/2020            Case 3:20-cv-00133-JCH Document
                                                 Scary151-1      Filedv.Yale
                                                      Fox Mail - Madej  08/24/20 Page 12 of 13
                This is silly. As you well know, I represent the witness. Neither he nor I will be appearing at the deposition
    today.



    Please be advised that I will be intermi ently working from home. My cell phone number is 203-314-4562.



    Patrick M. Noonan

    Donahue, Durham & Noonan, P.C.
    741 Boston Post Road

    Guilford, CT 06437

    (203)457-5209(direct)

    (203)314-4562(cell)

    (203)458-9168(oﬃce)


    [Quoted text hidden]



  Jakub Madej <j.madej@lawsheet.com>                                                                   Mon, Aug 17, 2020 at 4:31 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Pat,

    I cannot think of any legitimate reason why Mr. Raghavan disobeyed a subpoena and did not appear as commanded.
    Now you claim to be assisting Mr. Raghavan in his noncompliance. Would you be so kind to explain to me why Mr.
    Raghavan did not appear at the deposition, did not provide any advance notice or reason why he could not appear, and
    made no attempts to reschedule the deposition? Unilaterally deciding to "skip" a deposition is just unacceptable. The
    court has not granted any relief allowing Mr. Raghavan not to appear; your motion to quash is a nullity, and in any case
    would not stay the deposition. I intend to seek a reimbursement of all expenses incurred, and an order commanding the
    witness to appear or be held in contempt. I hope we will not need to reach the level of application for civil arrest.
    Prolonged willful noncompliance with discovery procedures is just not serious from an experienced attorney like you, Pat.

    Jakub

    PS. As I indicated earlier, I am concerned whether Mr. Raghavan consented to your alleged representation. I requested
    an acknowledgement signed by Mr. Raghavan to conclude this dispute but you declined to provide it. I reiterate my
    request.
    [Quoted text hidden]



  Pat Noonan <PNoonan@ddnctlaw.com>                                                                  Mon, Aug 17, 2020 at 11:04 PM
  To: Jakub Madej <j.madej@lawsheet.com>


    Jakub,

                  I notified you in May that Mr. Raghavan had asked me to represent him. I have attached his email to me once
    again.

    [Quoted text hidden]



    ---------- Forwarded message ----------
    From:
    To:
https://mail.google.com/mail/u/0?ik=defacd363b&view=pt&search=all&permthid=thread-f%3A1675299292425831371&simpl=msg-f%3A16752992924…   2/3
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                                                Scary151-1      Filedv.Yale
                                                     Fox Mail - Madej  08/24/20 Page 13 of 13
    Cc:
    Bcc:
    Date:
    Subject: FW: Madej v. Yale

    From: Keshav Raghavan
    Sent: Thursday, May 28, 2020 5:13 PM
    To: Pat Noonan
    Subject: Re: Madej v. Yale



    Attorney Noonan,

    I would appreciate it if you would represent me in connection with the case Madej v. Yale University. I prefer that Mr.
    Madej directs any communications or requests to you, not to me.



    Best,

    Keshav Raghavan




            FW: Madej v. Yale.eml
            56K




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